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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

    UNITED STATES OF AMERICA and
    THE STATE OF GEORGIA, ex rel.
    BETTY RINER,
         Plaintiff-Relator,                       Civil Action File No.:
    v.
                                                  1:19-cv-04316-MLB
    COMMUNITY PRIMARY CARE OF
    GEORGIA, LLC (a/k/a Ga MedGroup,
         Defendant.


     Defendant Community Primary Care of Georgia, LLC’s Motion to Dismiss
                   Relator’s Second Amended Complaint

           For the reasons set forth in the accompanying Brief in Support of its Motion

to Dismiss Relator’s Second Amended Complaint, Defendant Community

Primary Care of Georgia, LLC (“CPC”) respectfully moves to dismiss Relator Betty

Riner’s (“Relator” or “Riner”) Second Amended Complaint (“SAC”) (Doc. 68)

pursuant to Federal Rules of Civil Procedure 8(a), 9(b) and 12(b)(6).1

           CPC seeks to have Relator’s SAC dismissed pursuant to Rule 8(a) because it

is not a short, plain statement showing entitlement to relief of any claim against

CPC, the only named defendant, as yet again Relator has not plausibly alleged that

CPC is liable for allegedly false claims for payment for services for nursing facility


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    Pursuant to Federal Rule of Civil Procedure 12(a)(4)(A), CPC files this Motion to
    Dismiss in lieu of an Answer to the SAC.

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residents via a theory of ownership or control over the nursing facilities. CPC

further seeks dismissal pursuant to Rules 12(b)(6) and 9(b) because Relator’s SAC

still fails to state a claim for relief. Relator has aimed her claims at an inappropriate

target because public records show that CPC does not own or operate the patient

care facilities at issue. Moreover, her False Claims Act and Georgia False Medicaid

Claims Act claims misfire because she does not plead with particularity the

submission of a false claim in connection with any alleged scheme, which is the

sine qua non of a False Claims Act violation.

      For these reasons, and as more specifically explained in CPC’s Brief in

Support of this Motion, CPC respectfully moves the Court to dismiss Relator’s

SAC, and for such other and further relief, at law or in equity, to which CPC may

be entitled.

      Respectfully submitted this 6th day of July, 2022.

                                                ARNALL GOLDEN GREGORY LLP


                                                /s/ Glenn P. Hendrix
                                                Glenn P. Hendrix, Esq.
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                       CERTIFICATE OF COMPLIANCE
      The undersigned certifies that this pleading was prepared using Book

Antiqua 13-point font in accordance with Local Rule 5.1(C).

      This 6th day of July, 2022.

                                           /s/ Glenn P. Hendrix
                                           Glenn P. Hendrix
                                           Georgia Bar No. 346590




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                          CERTIFICATE OF SERVICE

      I hereby certify that on July 6th, 2022, I electronically filed the foregoing

Defendant Community Primary Care of Georgia, LLC’s Motion to Dismiss

Relator’s Second Amended Complaint with the Clerk of Court using the

CM/ECF system which will automatically send email notification of such filing to

all Counsel of Record.

                                            /s/ Glenn P. Hendrix
                                            Glenn P. Hendrix
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